United States Bankruptcy Court for the:

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Debtor name

Case 1-24-40294-nnl

| Case number (ifknown) 1-24-40294

~ AMENDED

Official Form 206E/F

EASTERN DISTRICT OF NEW YORK

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New York International Bagel & Coffee Inc.

@ Check if this is an
amended filing

Schedule E/F: Creditors Who Have Unsecured Claims 12/15

Be as complete and accurate as possible, Use Part 1 for
List the other party to any executory contracts or unexp

creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
ired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and

Personal Property (Official Form 20GA/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1. and
2? in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

List All Creditors with PRIORITY Unsecured Claims

3. List in alphabetical or

BB No. Go to Part 2.

O1 Yes. Go to line 2.

out and attach the Additional Page of Part 2.

4. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

List All Creditors with NONPRIORITY Unsecured Claims / /
der all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill

Amount of claim

(3.1 | Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check ail that apply. $301,000.00
47-41 31st LLC U1 Contingent
c/o Peter D. Strouzas Esq CO unliquidated
49-12 31st Place aw
7 Disputed
Long Island City, NY 11104 SP
Date(s) debt was incurred 2020-2021 Basis for the claim: Alleged rental arrears, water and taxes
Last 4 digits of account number _ is the claim subject to offset? Hino O Yes
3.2 | Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check ail that apply. $443,000.00
Abraham Gonzalez O Contingent
cio Michael S. Samuel Esq CO unliquidated
1441 Broadway, Suite 6085 BW pisputed
New York, NY 10018
Date(s) debt was incurred N/A Basis for the claim: Basis - alleged money owed for salary shortage
Last 4 digits of account number _ Is the claim subject to offset? Mino Oves
|3.3 Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check all that apply. $95,000.00

Efrain Zamora Nendieta
clo Michael S. Samuel Esq
1441 Broadway, Suite 6085
New York, NY 10018

Date(s) debt was incurred N/A

oO Contingent
D1 unliquidated

Bo Disputed
Basis for the claim: Basis - alleged money owed for salary shortage

Last 4 digits of account number _ Is the claim subject to offset? Bno Oves

List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed In Parts 1 and 2. Examples of entities that may be listed are collection agencies,
assignees of claims listed above, and attorneys for unsecured creditors.

If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

Name and mailing address On which line in Part1 or Part 2 is the Last 4 digits of
related creditor (if any) listed? account number, If
any
[GEREE Total Amounts of the Priority and Nonpriority Unsecured Claims
5. Add the amounts of priority and nonpriority unsecured claims.
Official Form 206E/F Schedule E/F: Creditors Who Have Unsecured Claims page 1 of 2

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Debtor New York International Bagel & Coffee Inc. Case number (ifknown) — 1-24-40294 |
Name
Total of clalm amounts
5a. Total claims from Part 1 5a. $ 0.00
5b. Total claims from Part 2 5b. + $ 839,000.00
5c. Total of Parts 1 and 2 5c. $ 839,000.00

Lines 5a + 5b = Sc, = =

Dated: a I declareunder the penalty of perjury
Yo" that the foregoing is true and
correct.

> 4A
f —

Mahmoud Ismail-Principal

Official Form 206 E/F Schedule E/F: Creditors Who Have Unsecured Claims Page 2 of 2
